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EXHIBIT C

Trial Transcript Day 3 Excerpts
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Emerson Creek Pottery, Inc. v. Emerson Creek Events, Inc.,
6:20cv54, 2/24/2022

1 UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
2 LYNCHBURG DIVISION

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4 |/EMERSON CREEK POTTERY, INC. CIVIL CASE NO.: 6:20CV54
FEBRUARY 24, 2022, 9:37 A.M.
5 JURY TRIAL, DAY 3
Plaintiff,
6 |ivs.

7 |J/EMERSON CREEK EVENTS, INC., Before:
ET AL., HONORABLE NORMAN K. MOON
8 UNITED STATES DISTRICT JUDGE
Defendants. WESTERN DISTRICT OF VIRGINIA

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PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY;
25 |}JTRANSCRIPT PRODUCED BY COMPUTER.

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Belisle - Direct

1 "pottery and tearoom," followed by "pottery and tearoom wedding
2 jjvenues."

3 }]O To be really clear about this, these aren't the results.

4 ||This is what what's auto filling at this point. This is what

5 }you're seeing as you type it in in real time, "wedding" is the

6 jfirst thing that comes up, then nothing, then "pottery," then

7 "pottery and tearoom," then "pottery and tearoom wedding
8 |lvenues"?
OWA Just like all algorithmic understandings for search,

10 fJ/Pinterest's algorithm is determining based on the keyword terms
11 |Jthis user typed in, that this is the content that's going to be
12 imost relevant to them on the platform before they even click

13 Ireturn.

14 WO I'm going to switch gears a little bit and talk fora
15 |]Jsecond about -- well, let me ask you this. We don't have a
16 IJslide of this. We've seen something presented on Ms. Demiduk
17 lon LinkedIn. Does LinkedIn factor into searching or consumers

18 JJlooking at LinkedIn, or is that just a business thing?
19 |JA No, it's 100 percent -- it plays into reputation because

20 Wit also can populate on Google.

21 JO And consumers use LinkedIn as well as businesses?

22 WA Correct.

23 1|° Now, let's talk for a second about, you talked about
24 |]Google. So we've sort of done what I call the social media

25 Iiside of this. Let's talk about the search side of this. What

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Belisle - Direct

1 |idid you determine from your analysis on the search side?

2 WA We determined that there has been so much activity on the
3 jfpart of -- there's been so much activity relative to the search
4 |jterm "Emerson Creek" that there is significant -- there's been

5 fa significant presence in search engine results that have

6 |iIresulted in muddying the waters. There's significant

7 fWconfusion, just by the algorithms, if not then translates to

8 Jlusers, for the fact that there is not one entity that shows up
9 }jfor the short tail search term, right? So here's -- we're

10 JJjpulling up the results now. This is just on the next page.

11 qo The search is the same search, "Emerson Creek"?
12 |JA Yep, you search "Emerson Creek" in Google, you get these
13 {[results. If you search a little further -- this was done on a

14 IJmobile phone so it's a little crunched.
15 JO Let me ask you this: As you're performing this search on

16 Google, does it matter where you are?

17 WA Yes, it does. There are over 200 factors in Google's

18 flalgorithm. So just by solving for one particular factor

19 Iidoesn't necessarily heavily influence the results. There's a
20 eerenete hierarchy to all those factors. But there's over 200
21 |jffactors. One of those factors is your geography. Hence,

22 |janyone hops on their phone or computer, wherever they're based,
23 iGoogle recognizes that as an IP address and recognizes your
24 |}location and might serve you local results based on what you're

25 |[searching for.

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1 ffgentlemen of the jury, we'll take a lunch recess now and I'll
2 |jask you to come back at 1:45.

3 (Jury out, 12:40 p.m.)

4 (Recess.)

5 THE COURT: Before the jury comes back, have you

6 }Wfinished with your witnesses?

7 MR. WILLETT: Yes, Your Honor. We've finished our

8 Jlwitnesses. We have a couple things we were going to stipulate
9 Ito for the record and then there's one other issue. There's a

10 JJjwitness, Mr. Wehrli, who we are not going to cail in our case
11 fJin chief. He may be called by the defendants, but we may end
12 JJup having to take him out of order at some point. We'll work

13 jJaround that just so he can be on Zoom and we don't slow down

14 Wthe process. But we are done with our witness presentation.
15 THE COURT: Okay.
16 MR. WILLETT: Do you want us to take that up -- there

17 jJare a few exhibits I need to run through with Carmen, that

18 |jthose have been stipulated to that those can be admitted. The
19 Jlother thing we would ask about, there are some discovery

20 Iidesignations, things we had designated 30 days out that we

21 |iwanted to have part of the record.

22 THE COURT: Anything else -- you want to show it to
23 |[the jury, right?

24 MR. WILLETT: Yes. Yes.

25 MR. LAUBSCHER: Your Honor, since the plaintiffs have

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1 JJnow rested their case, we would like to file a motion fora

2 jidirected verdict.

3 THE COURT: All right.

4 MR. LAUBSCHER: So it would be on the issues of

5 |fbreach of contract, we don't think they've met their burden of
6 |Jproof with regard to the existence of a contract. We certainly
7 don't think they've met their burden of proof that there was a
8 JJjlicense agreement that was agreed to by the parties. So on

9 \Ithese breach of contract and the licensing claims, we think
10 ithat judgment should be in our favor.

11 Moreover, as a result of Mr. Leavitt's testimony, we

12 ithink that the acquiescence that we have asserted as a defense
13 IJhas been established. And as you know, that's an equity relief

14 which you can grant without regard to the jury.

1k So again, we don't think there's been proof of breach
16 fJof contract. We don't think that there has been -- we think
17 |Jthere's acquiescence. And quite honestly, on the trademark

18 fJinfringement claim, we don't think they've met their burden on

19 Ithat as well.

20 THE COURT: All right. If you'll respond.
21 MR. WILLETT: In response, Judge, we have met our
22 iburden on all of those issues. With respect to breach of

23 fJcontract, we've got the testimony of Mr. Leavitt as to the
24 ihandshake agreement that was reached between the parties. As

25 Ifthe Court knows, that would qualify both for the contract as

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1 |lwell as for the license.

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2 | We've also argued that in the event it was determined

3 |Jthat there was not a contract, that there is an implied license

4 }las well. So we have met our brief on that. We've also met --
5 |lwell, we've established that there was a license. They were

6 holdover licensees. It would be their burden to show

7 |facquiescence. But we've shown there was the necessary control

8 Jjexerted, and we believe we've met all elements of our

9 jJaffirmative case, Your Honor. And happy to address any

10 | nect tic questions the Court may have.

ial THE COURT: I'm going to let the case go forward and

12 |jdeny the motion at this time. These are close issues, but I'm

13 igoing to let it go forward and we'll revisit it after the

14 |lverdict.

15 || (Jury in, 1:51 p.m.)

16 THE COURT: Have a seat. We'll proceed.

17 MR. WILLETT: And may it please the Court, Henry

18 |JWillett again on behalf of the plaintiff. Prior to concluding

19 iplaintiff's presentation of evidence, I'd just like to pull up

20 ja few exhibits so that they can be admitted. They have been
21 |jstipulated to by defendants. Those are going to be --

22 fJactually, we'll start with the exhibits, 4, 5, 6, and 7. Do
23 }Jthem one at a time.

24 The first one, Carmen, is going to be Exhibit 4 that

25 |lwe move to be admitted. Again, I'm not going to go through all

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C. Demiduk - Cross

1 CERTIFICATE

2 I, Lisa M. Blair, RMR/CRR, Official Court Reporter for

3 |jthe United States District Court for the Western District of
4 Virginia, appointed pursuant to the provisions of Title 28,

5 |JUnited States Code, Section 753, do hereby certify that the

6 |/foregoing is a correct transcript of the proceedings reported
7 iby me using the stenotype reporting method in conjunction

8 |lwith computer-aided transcription, and that same is a

9 IJ[true and correct transcript to the best of my ability and

10 JJunderstanding.

11 I further certify that the transcript fees and format
12 |icomply with those prescribed by the Court and the Judicial
13 |]Conference of the United States.

14 /s/ Lisa M. Blair Date: March 9, 2022

